           Case 2:08-cr-00417-MCE Document 98 Filed 06/30/11 Page 1 of 3


1    BENJAMIN B. WAGNER
     United States Attorney
2    JASON HITT
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2751
5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )          Case No. 2:08-cr-00417 MCE
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION AND ORDER
                                   )          CONTINUING STATUS CONFERENCE
13   JOSHUA ORTEGA, and            )          AND EXCLUDING TIME
     MARIO SARRANO-ABURTO,         )
14                                 )
                    Defendants.    )
15   ______________________________)
16        Plaintiff, United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, and defendant Joshua ORTEGA,          by
18   and through his counsel, Thomas Johnson, Esq., and defendant Mario
19   SARRANO-ABURTO, by and through his counsel, Dan Koukol, Esq.,
20   stipulate and agree that the currently-set status conference on June
21   30, 2011, should be continued to July 14, 2011, at 9:00 a.m.          The
22   parties further stipulate that the time period from June 30, 2011,
23   up to and including the new status conference date of July 14, 2011,
24   should be excluded from computation of the time for commencement of
25   trial under the Speedy Trial Act, based upon the need for defense
26   counsel to review plea agreements for each defendant that were
27   recently provided by the United States to these particular
28   defendants.

                                          1
              Case 2:08-cr-00417-MCE Document 98 Filed 06/30/11 Page 2 of 3


1    It is anticipated by all parties that these two defendants will
2    enter guilty pleas pursuant to written plea agreements on July 14,
3    2011.
4         For these reasons, the defendants, defense counsel, and the
5    government agree additional time is required for the defense to
6    effectively evaluate the government’s pending plea offers and
7    prepare their clients for entry of guilty pleas before this Court.
8    Therefore, all counsel stipulate that the ends of justice are served
9    by the Court excluding such time, so that counsel for each defendant
10   may have reasonable time necessary for effective preparation, taking
11   into account the exercise of due diligence.           18 U.S.C.
12   § 3161(h)(7)(B)(iv).       Therefore, the parties request that the Court
13   find that time should be excluded under 18 U.S.C. § 3161(h)(7)(A)
14   and Local Code T4.
15
16                                                     BENJAMIN B. WAGNER
                                                       United States Attorney
17
18   DATED:    June 29, 2011                     By:   /s/Jason Hitt
                                                       JASON HITT
19                                                     Assistant U.S. Attorney
20
21   DATED:    June 29, 2011                     By:   /s/Jason Hitt
                                                       Authorized to sign for Mr.
22                                                     Johnson on 06-29-11
                                                       THOMAS JOHNSON, Esq.
23                                                     Attorney for Joshua ORTEGA
24   DATED:    June 29, 2011                     By:   /s/Jason Hitt
                                                       Authorized to sign for Mr.
25                                                     Koukol on 06-29-11
                                                       DAN KOUKOL, Esq.
26                                                     Attorney for Mario SARRANO-
                                                       ABURTO
27
28

                                             2
           Case 2:08-cr-00417-MCE Document 98 Filed 06/30/11 Page 3 of 3


1                                       ORDER
2         Based upon the representations and stipulation of counsel, IT
3    IS HEREBY ORDERED that:
4         1.   The status conference set for June 30, 2011, at 9:00
5    a.m. is vacated;
6         2.   A status conference and possible change of plea for
7    defendants Joshua ORTEGA and Mario SARRANO-ABURTO is set for July
8    14, 2011, at 9:00 a.m.; and
9         3.   Based upon the representations and stipulation of the
10   parties, the court finds that the ends of justice outweigh the best
11   interest of the public and the defendants in a speedy trial by the
12   Court excluding such time.     This finding is based upon the need for
13   counsel for each defendant to have reasonable time for continuing
14   effective preparation, taking into account the exercise of due
15   diligence.   18 U.S.C. § 3161(h)(7)(B)(iv).      Accordingly, time under
16   the Speedy Trial Act shall be excluded from June 30, 2011, up to and
17   including July 14, 2011.
18
     Dated: June 29, 2011
19
20                                      _____________________________
21                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28
